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EDUCATION
High School

University

VA Leadership

MEDICAL EDUCATION

Medical School

Internship

Residency

LICENSURE
AND BOARD

PAULINE M. VELEZ, M.D., F.A.C.S., M.B.A.

Assistant Chief, Surgical Service
VA Northern California Health Care System

 

Martinez, California 94553

EXHIBIT / GEPD.
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BEHMKE REPORTING AND VIDEO SERVICES, INC.

University of Nebraska Extension Division 1971-1975
(By correspondence from the Dominican Republic)

Convent of Sacred Heart San Francisco 1975-1976
San Francisco, California

University of California, Berkeley 1977-1981
B.A. in Physiology and Anatomy

Magna cum laude, Phi Beta Kappa

Neufeld Scholar Athlete Award (Varsity Athlete with highest GPA)

University of California, Berkeley 1998-2000
Master of Business Administration

Leadership VA 2010 Participant 2010

2011 One-VA Senior Executive Service Candidate 2010-2011
Development Program (SESCDP)

University of California, San Francisco 1981-1985
M.D., Alpha Omega Alpha, Regents Scholar (4 years)
A.M.W.A. Award to Top Five Women Graduates

University of California, Davis Medical Center 1985-1986
General Surgery, Department of Surgery
Sacramento, California

University of California, Davis Medical Center 1986-1990
General Surgery, Department of Surgery
Sacramento, California

California Medical License, G-57839 1986
Diplomat, American Board of Surgery 036377 1991
Recertified, December 2019

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‘Pauline M. Velez
CERTIFICATION

MEDICAL AND
SCIENTIFIC
SOCIETIES

PROFESSIONAL
EXPERIENCE

2

Diplomat, National Board of Medical Examiners 1989
DEA Certificate, BV0697637 1986
X-Ray Supervisor and Operator Certificate 1990

RHC 132267, State of California
BLS & ACLS 2019
ARDMS (APCP) 188318 2015
Society of Vascular Ultrasound
Fellow, American College of Surgeons
Society of American Gastrointestinal Endoscopic Surgeons
Association of Women Surgeons
University of California, Davis Surgical Society

President 1997-1998
Phi Beta Kappa
Alpha Omega Alpha
UCSF Volunteer Clinical Instructor Sept 2018 - present
Dept of Surgery, School of Medicine
Acting Chief Medical Officer June — Aug. 2011
VISN 7, VA Southeast Network
Duluth, Georgia
Physician Liaison to the Assistant Deputy Feb. — May 2011

Under Secretary for Health for Clinical
Operations (10NC) (ADUSH/Clin)
Washington, D.C.

Acting Associate Director, East Bay Jan. — Feb. 2011
VA Northern California Health Care System
Martinez, California

Acting Chief of Staff Aug. — Oct. 2010
Atlanta VA Medical Center
Decatur, Georgia

Acting Associate Director, East Bay June — July 2009
VA Northern California Health Care System
Martinez, California

Staff General and Vascular Surgeon 2005 — 2011
VA Pacific Island Health Care System
Honolulu, Hawaii

Staff General and Vascular Surgeon 2005 — 2011
Queens Medical Center
Honolulu, Hawaii

Site Manager, Martinez Outpatient Clinic 2001 —2018
VA Northern California Health Care System

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Pauline M. Velez

HONORS
AND AWARDS

Martinez, California

Assistant Chief, Surgical Service
VA Northern California Health Care System
Martinez, California

Staff Surgeon, Vascular Surgery Section
San Francisco VA Medical Center
San Francisco, California

Consultant, General and Vascular Surgeon
Contra Costa Regional Medical Center
Martinez, California

Staff Surgeon, David Grant Medical Center
David Grant Medical Center
Travis Air Force Base, Fairfield, California

Acting Chief, Surgical Service
VA Northern California Health Care System
Martinez, California

Chief of Surgery
Contra Costa Regional Medical Center
Martinez, California

Consultant Surgeon (trauma)
Highland General Hospital
Oakland, California

Consultant for Laparoscopic Surgery
Oak Knoll Naval Hospital
Oakland, California

Staff Surgeon, Vascular Surgery Section
Martinez VA Medical Center,
Martinez, California

Staff Surgeon (General Surgery)
Kaiser Permanente Medical Group
Walnut Creek, California

Clinical Instructor for Laparoscopic
Cholecystectomy :

University of California, Davis Medical Center

Sacramento, California

Contra Costa County Woman of the Year Award
(Health Care Division)

1999 — Present

1996 — Present

1996 — Present

1993 — 1996

1992 — 1999

1992 — 1996

1991 — 1996

1990 — 1993

1990 — 1992

1990 — 1992

1990 — 1991

2002

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Pauline M. Velez 4
Federal Employee of the Year 2001
San Francisco Bay Area
Outstanding Teaching Award Resident Staff 19980
University of California, San Francisco, 1981 — 1985
Regents Scholar
A.M.W.A. Award to Top Five Women Graduates 1985
Neufeld Scholar Athlete Award 1981
(Varsity Athlete with highest GPA)
University of California, Berkeley
National Women’s Rowing Champion 1980 — 1981
(Three gold medals, one silver)
LANGUAGES Fluent: Spanish and English, Good French and Italian
COMMITTEES VA NCHCS Leadership Forum

Telehealth Committee

National Telewound Practice Diffusion Taskforce
Strategic Planning Committee

Operations Council

Workforce Development Committee

Resource Management Board

Clinical Executive Board

Compliance Committee

Medical Executive Committee

PAVE Committee

GRANTS

Co-Investigator

Specimen-Based Accuracy of Carotid Stenosis Evaluation

National Institutes of Health RO1 HL 56307 - $35,994/year (my portion)
December 1, 1996 — November 30, 1999

Co-Investigator

The Breast Cancer Center: Innovative Care for the Underserved
National Institutes of Health 3CB-0047 - $273,687 total

June 1, 1997 — May 30, 1999

Mentored and assisted Phebe Kwon, Pharm D in obtaining an Innovations “Let’s Move” grant
for the management of morbid obesity patients in VISN 21 - $999,000
* June 2011 — Sept 2012

Obtained funding for T21 e-consult specialty funds for VISN 21 vascular e-consult
collaboration between VANCHCS and SFVA - $669,000
Nov 2011 — Sept 2012

Collaborated with Drs. Rapp and Reilly to obtain VA Innovations funding for Improved Veteran
Access to an Innovative Treatment of TAAA (ranked in the top 10 projects nationally from
almost 4,000 entries - $600,000

June 2012 — Sept 2013

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Pauline M. Velez

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Obtained and managed the Specialty Care Neighborhood — Surgical Care Team for Wound
Care in the East Bay to improve access and coordination for care and to improve access and
coordination for wound care in East Bay sites- $1,200,000

May 2012 — Sept 2014

Collaborated with Dr. Owens to obtain Specialty Care Initiative funding for Chronic Kidney
Disease Specialty Care initiative - $850,000
June 2013 — Sept 2014

Obtained and managed a Rural Health Grant to expand wound care services in rural areas of
NCHCS June 2014-Sept 2015

VISN 21 Telewound initiative One of 10 initiatives funded nationwide $700,000 — Sept 2016

National Telewound taskforce ~ Oct 2018

PUBLICATIONS

1, Velez P and Robertson DW: A Method for Training Surgeons in Laparoscopic Ultrasound.
End Surg 1994; 2:156-160.

2 Velez P: Laparoscopic Colonic and Rectal Resection. Chapter In: Bailliere’s Clinical
Gastroenterology 1993; 7(4):867-880.

3. Velez P, Missavage A, Blaisdell FW: The Swollen Leg. Patient Presentations: A Symptom-
Based Approach. Eds. Polk, Gardner and Stone. Chapter In: Basic Surgery 1995; 33:584-
594.

4. Rossi R, Asbun H, Martin R, Heiss F, Shea J, Velez P: Use of Expandable Metal Stents for
Benign Strictures: Need for Balanced Multidisciplinary Approach. Gastrointestinal Endoscopy
1996; 43(1):73-75.

5. Rapp JH, Pan X-M, Sharp FR, Shah DM, Willie GA, Velez PM, Higashida RT, Saloner D:
Athero-Emboli to the Brain: Size Threshold for Causing Acute Neuronal Cell Death. J Vasc
Surg 2000; 32(1): 68-76.

6. Troyer A, Saloner D, Pan XM, Velez P, Rapp JH: Major Carotid Plaque Surface Irregularities
Correlate with Neurologic Symptoms. J Vasc Surg 2002; 35(4): 741-747.

7 Rapp JH, Zhu L, Hollenbeck K. Sarkar R, Velez PM, Reilly LM, Hiramoto J, Pan XM: Distal

Filtration Versus Flow Reversal: An Ex Vivo Assessment of the Choices for Carotid Embolic
Protection. J Vasc Surg 2009; 49(5): 1181-1188.

MOTION PICTURES

I

Velez P, Asbun HJ, Shibata G: Laparoscopic Resection of Gastric Diverticulum. Presented at

- the European Association for Endoscopic Surgery, Luxembourg, June 1995.

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Pauline M. Velez 6
2. Asbun HJ, Velez P, Berguer R, et al: Technical Aids in Laparoscopic Adrenalectomy.
Presented at the American College of Surgeons Annual Meeting, New Orleans, October 1995.

3. Asbun HJ and Velez P: Laparoscopic Nissen Fundoplication with Large Hiatal Hernia. Video
Journal of Surgery invited presentation, Vol. 3, Third Quarter 1996.

4. Asbun HJ, Velez P, Berguer R, et al: Technical Aids in Laparoscopic Adrenalectomy.
Selected by the American College of Surgeons for presentation at the Joint Meeting of the
German Surgical Society and American College of Surgeons, Berlin, May 1996.

§. Asbun HJ, Perlstein J and Velez P: Technical Steps in Laparoscopic Nissen Fundoplication.
Presented at the American College of Surgeons Annual Meeting, San Francisco, October

1996.
PRESENTATIONS
1. August 1991 Laparoscopic Approach to Cancer Staging

University of California, Davis

2: September 1991 Laparoscopic Approach to Cancer Staging
University of California, Davis

3. January 1992 Update: Laparoscopic Cholecystectomy and
Common Duct Exploration
Speaker, Fourteenth Annual Surgical Postgraduate Course
U.C. Davis and the Sacramento Surgical Society
“What's New In General Surgery”

4. January 1992 Advanced Techniques in Endoscopic and Laparoscopic Surgery
University of California, Davis

5. January 1992 Lecture: Laparoscopic Colon and Resection and Anastomosis
University of California, Davis

6. February 1992 Lecture: Cancer Staging/Colon
Advanced Endoscopic Surgical Course
University of California, Davis

7. March 1992 Lecture: Colon Cancer/Common Duct Exploration
Advanced Endoscopic Surgical Course
University of California, Davis

8. January 1993 Does Electric Energy Cause Bowel Injury?
Speaker, Fifteenth Annual Surgical Postgraduate Course
U.C. Davis and the Sacramento Surgical Society
“What's New In General Surgery”

9. April 1993 Comparison of Laparoscopic Double and Triple-Stapled
Anastomoses in Canine Model (Poster)
SAGES Scientific Session and Postgraduate Course

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Pauline M. Velez

10. November 1993
11. January 1994
12. February 1994
13. April 1994

14. January 1995

15.

16.

17.

18.

19.

20.

September 1995

January 1996

August 1996

February 1997

June 1997

‘September 1997

Phoenix, Arizona

Lecture: Use of Ultrasound in Laparoscopy
Lutheran General Hospital
Chicago, Illinois

Use of Ultrasound in Laparoscopic Surgery

Speaker, Sixteenth Annual Surgical Postgraduate Course
U.C. Davis and the Sacramento Surgical Society

“What’s New In General Surgery”

Lecture: Use of Ultrasound in Laparoscopy
University of California, Davis

Laparoscopic Ultrasound Localization of Intrahepatic Masses
in Sheep Model (Poster)

SAGES Scientific Session and Postgraduate Course
Nashville, Tennessee

Laparoscopic Colon Resection

Speaker, Seventeenth Annual Surgical Postgraduate Course
U.C. Davis and the Sacramento Surgical Society

“What's New In General Surgery”

Laparoscopic Placement of Enteral Tubes
Speaker, First Annual Surgical Review

Upper Gastrointestinal and Endocrine Diseases
David Grant Medical Center - Fairfield, California

Laparoscopic Surgery: Enteral Tube Placement

Speaker, Eighteenth Annual Surgical Postgraduate Course
U.C. Davis and the Sacramento Surgical Society

“What's New In General Surgery”

Stereotactic Breast Biopsy, The Surgeon's Perspective
Speaker, Second Annual Surgical Review

Review of Lower Gastrointestinal and Breast Diseases
David Grant Medical Center - Fairfield, California

Arterial Occlusive Disease
Contra Costa Regional Medical Center (CCRMC)
Martinez, California

Esophageal Reflux
CCRMC - Martinez, California

Endoluminal Abdominal Aortic Aneurysm Repair
Speaker, Third Annual Surgical Review

Update and Minimally Invasive Surgery and Trauma
David Grant Medical Center - Fairfield, California

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Pauline M. Velez

21. January 2001

22. September 2001

23. March 2003

24. March 2004

25. January 2007

26. September 2007

27. October 2007

28. June 2008

29. June 2008

30. May 2009
31. May 2010
32. May 2011

Peripheral Vascular Disease
Noon Medical Conference
CCRMC - Martinez, California

Esophageal Cancer
Noon Medical Conference
CCRMC - Martinez, California

Aortic Dissection a
Noon Medical Conference i
CCRMC - Martinez, California &:
Carotid Disease te
Noon Medical Conference ©
CCRMC - Martinez, California as
Diabetic Ulcers Medical Conference Re

VA Pacific Islands Health Care System
Honolulu, Hawaii

Lower Extremity Ulcers
Wound Care Conference
VANCHCS - Martinez, California

Telemedicine: The Savior ‘
21COE International Symposium on Neuropathology
University of Niigata, Japan

Lower Extremity Ulcers
Noon Medical Conference
VANCHCS - Martinez, California

Implementing a Telehealth Program — Utilizing a NP Model
Rocky Mountain Telehealth Mini Forum
Rocky Mountain Health Care System

Sidney Garfield: The Father of the Future

The 11" Congress of Japan Human Brain Mapping Society
Center for Integrated Human Brain Science

Brain Research Institute, University of Niigata, Japan

Organizational Structure of the Telehealth Program at
Northern California Health Care System (NCHCS)
Telehealth 2010 and Beyond: Expanding Patient-Centric
Care Forum

The Status of Surgery Residency Education in the United States
Fudan University Hospital
Shanghai, China

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